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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                              )
                                                     )        Case No. 20-14962 JGR
 GUNSMOKE, LLC                                       )
 EIN: XX-XXXXXXX                                     )        Chapter 11
                                                     )
    Debtor.                                          )
                                                     )
                                                     )
                                                     )        Case No. 20-14853 JGR
 HAPPY BEAVERS, LLC                                  )
 EIN: XX-XXXXXXX                                     )        Chapter 11
                                                     )
    Debtor.                                          )
                                                     )
                                                     )        Case No. 20-14963 JGR
 ARMED BEAVERS, LLC                                  )
 EIN: XX-XXXXXXX                                     )        Chapter 11
                                                     )
    Debtor.                                          )

                                 MOTION FOR SUBSTANTIVE
                                     CONSOLIDATION

       The Debtors and Debtors-in-Possession, Gunsmoke, LLC, Happy Beavers, LLC, and Armed

Beavers, LLC by and through their attorneys, JORGENSEN, BROWNELL & PEPIN, P.C. move the Court

for an Order for Substantive Consolidation pursuant to L.B.R. 1015-1 and Bankruptcy Rule 1015

of the three Chapter 11 cases captioned Happy Beavers, LLC, Case No. 20-14853 JGR; Armed

Beavers, LLC, Case No. 20-14963 JGR, and Gunsmoke, LLC, Case No. 20-14962 JGR; and, as

grounds therefore, states as follows:

                                        INTRODUCTION

          1.    Happy Beavers, LLC filed its voluntary petition for relief under Chapter 11 of the

 Bankruptcy Code on July 17, 2020 and remains a debtor-in-possession.

          2.    Armed Beavers, LLC filed for relief under Chapter 11 of the Bankruptcy Code on

 July 22, 2020 and remains a debtor-in-possession.
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        3.       Gunsmoke, LLC filed for relief under chapter 11 of the Bankruptcy Code on July

 22, 2020 and remains a debtor-in-possession.

        4.       Happy Beavers, LLC, Armed Beavers, LLC and Gunsmoke, LLC are interlocked

 companies used by third parties: Chi Wei Fong and Richard Weingarten, for the operation of an

 indoor shooting range and retail gun shop (operating under the trade name: Front Range Gun Club)

 located at 697 N. Denver Ave., Loveland, Colorado 880537 (the “Property”). Happy Beavers,

 LLC, holds title to the real estate and has encumbered the real estate, fixtures and inventory. The

 inventory control is vested in Armed Beavers, LLC (that has also encumbered the fixtures and

 inventory) and the day-to-day sales and cashflows are handled through Gunsmoke, LLC (that is a

 wholly owned subsidiary of Armed Beavers, LLC). Gunsmoke, LLC technically leases the facility

 from Happy Beavers, LLC which that in-turn pays mortgage payments to creditors.

        5.       The issues that will need to be resolved in the Debtors’ cases will be, to a great

 extent, identical. The cases will involve common factual and legal issues and overlapping

 encumbrances.

        6.       The Happy Beavers, LLC Chapter 11 case was the earlier-filed case. Accordingly,

 pursuant to Local Bankruptcy Rule 1015-1, substantive consolidation should occur under that case.

       7.      A similar Motion for Substantive Consolidation is being filed in the affiliated cases

for Armed Beavers, LLC and Gunsmoke, LLC.

        8.       Joint Administration of the three cases is also requested under separate motion filed

 contemporaneously herewith pursuant to L.B.R. 1015-1(e).

                                        LEGAL STANDARD

       The majority of circuits, including the Tenth Circuit, recognize that bankruptcy courts have

the authority to substantively consolidate bankruptcy cases pursuant to their general equitable

powers. Fish v. East, 114 F.2d 177 (10th Cir. 1940) (analyzing substantive consolidation under the
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Act); Federal Deposit Insurance Corp. v. Hogan (In re Gulfco Investments Corp.), 593 F.2d 921,

928 (10th Cir. 1979).

        All of the circuits that have recognized the remedy articulate its outcome and effects in

uniform fashion. Substantive consolidation has the effect of consolidating assets and liabilities of

multiple debtors and treating them as if the liabilities were owed by, and the assets held by, a single

legal entity. In the course of satisfying the liabilities of the consolidated debtors from the common

pool of assets, intercompany claims are eliminated and guaranties from co-debtors are disregarded. In

re Worldcom, Inc., 2003 Bankr. LEXIS 1401, 2003 WL 23861928, at *35 (Bankr. S.D.N.Y. Oct. 31,

2003); In re Pacific Lumber Co., 584 F.3d 229, 249 (5th Cir. 2009); see also Union Say. Bank v.

Augie/Restivo Baking Co., Ltd. (In re Augie/Restivo Baking Co., Ltd.), 860 F.2d 515, 518 (2d Cir.

1988) (describing effect of substantive consolidation); In re Owens Corning, 419 F.3d 195, 205-206

(3rd Cir. 2005). Within the bankruptcy process, this undoes the consequences of the debtor-entities'

pre-petition status as separate legal persons. In re Owens Corning, 419 F.3d at 205-206. Pre- (and

post-) petition liens against particular assets are preserved, but otherwise the resultant pool of assets

is subject to the resultant pool of unsecured claims. In re Augie/Restivo Baking Co., Ltd., 860 F.2d

at 518; see also In re Owens Corning, 419 F.3d at 206 (substantive consolidation "brings all the

assets of a group of entities into a single survivor," i.e., the consolidated estate, and "merges liabilities

as well"). Inter-company liabilities among the debtors are extinguished. Eastgroup Properties. v. S.

Motel Assocs., Ltd., 935 F.2d 245, 248 (11th Cir. 1991); In re Auto-Train Corp. Inc., 810 F.2d 270,

276 (D.C. Cir. 1987).

        Since there are no provisions there are no statutorily prescribed standards in the Bankruptcy

Code, judicially developed standards control whether substantive consolidation should be granted in

any given case. [Vol. 2] Collier on Bankruptcy ¶ 105.09 [2] [Alan N. Resnick & Henry J Sommer
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16th Ed. 2015]. SE Prop. Holdings, LLC v. Stewart (In re Stewart), 571 B.R. 460, 468-469 (Bankr.

W.D. Okla. May 3, 2017).

       The most commonly cited case on substantive consolidation in the Tenth Circuit, and

elsewhere, is that of the Third Circuit in In re Owens Corning. There, the Third Circuit stated its test

as follows:

       In our Court what must be proven (absent consent) concerning the entities for whom

       substantive consolidation is sought is that (i) pre-petition they disregarded

       separateness so significantly their creditors relied on the breakdown of entity borders

       and treated them as one legal entity, or (ii) post-petition their assets and liabilities are

       so scrambled that separating them is prohibitive and hurts all creditors.

       ****

       A prima facie case for [substantive consolidation] typically exists when, based on the

       parties’ pre-petition dealings, a proponent proves corporate disregard creating

       contractual expectations of creditors that they were dealing with debtors as one

       indistinguishable entity . . .. Proponents who are creditors must also show that, in their

       pre-petition course of dealing, they actually and reasonably relied on debtors'

       supposed unity. Creditor opponents of consolidation can nonetheless defeat a prima

       facie showing under the first rationale if they can prove that they are adversely

       affected and actually relied on debtor's separate existence.

In re Owens Corning, 419 F.3d 195, 211-212 (3rd Cir. 2005).

       The other landmark case relied upon by most courts is In re Auto-Train Corp. Inc. which

enunciated a three-part test requiring that (1) the proponent show a substantial identity between the

entities, (2) consolidation is necessary to avoid some harm or to realize some benefit, and (3) that if

a creditor objects on the grounds that it relied on the separate credit of one of the entities to its
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prejudice consolidation may be ordered only if the benefits heavily outweigh the harm. 810 F.2d at

276; see also In re Schupbach Investments, LLC, 2012 Bankr. LEXIS 3806, 2012 WL

3564159 (Bank. D. Kan. 2012) (relying, in part, on In re Auto-Train Corp.).

       More recently, a bankruptcy court in the Tenth Circuit in Castle Arch Real Estate Investments

Co., LLC, summarized the law as follows:

       The criteria can be reduced into two general components: (1) the extent to which the entity

       to be substantively consolidated was managed or controlled by the debtor, and (2) whether

       the entity to be substantively consolidated had an economic existence independent from the

       Debtor.

       ****

       Finally, as recognized by numerous courts, the degree of difficulty and expense involved with

       segregating and ascertaining individual assets and liabilities of each of the entities is

       particularly relevant. Thus, substantive consolidation is proper where the assets of the entities

       in question are hopelessly co-mingled, or where difficult accounting problems caused by

       inter-company debt are so strong that the great expense in order to bring about an

       unscrambling threatens recovery.

       Castle Arch Real Estate Investments Co., LLC, 2013 Bankr. LEXIS 532, 2013 WL 492369

(Bank. D. Utah 2013) (citations omitted).

       To determine whether to approve substantive consolidation bankruptcy courts have also

considered a variety of factors, including:

       [t]he presence or absence of consolidated financial statements; [t]he unity of interest

       and ownership among various corporate entities; [t]he degree of difficulty in

       segregating and ascertaining individual assets and liabilities; [t]he transfers of assets

       without formal observance of corporate formalities; [t]he commingling of assets and
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       business functions; [t]he profitability of consolidation at a single physical location;

       and [t]he disregard of legal formalities.

In re Worldcom, 2003 Bankr. LEXIS 1401, 2003 WL 23861928, at *35 (citing Augie/Restivo, 860

F.2d at 518); see also In re Drexel Burnham Lambert Grp. Inc., 138 B.R. 723, 764 (Bankr. S.D.N.Y.

1992) (listing factors courts consider in ascertaining whether the interrelationship between entities

warrants consolidation); In re Republic Airways Holdings, Inc., 565 B.R. 710, 716-717 (Bankr.

S.D.N.Y. April 10, 2017).

       Once the movant has stated facts sufficient to have the Court disregard the separateness of

the entities, the decisional focus shifts to the additional equitable consideration of the effect of the

consolidation on the general unsecured creditors of all the entities involved. "The remedy of

substantive consolidation is appropriate...when it has been shown that the possibility of economic

prejudice which would result with continuing corporate separateness outweighed the minimal

prejudice that substantive consolidation might cause." In re Murray Industries, Inc., 119 B.R. 820,

829 (Bank. M. D. Fla. 1990); In re Stewart, 571 B.R. at., 471.

                                        LEGAL ANALYSIS

       This is a case where the debtor entities are so inextricably related that their substantive

consolidation is equitable to all parties involved. The entities are managed and controlled by the same

persons, are economically co-dependent, and share in substantially all their debts. See In re Owens

Corning, 419 F.3d, 211-212; In re Auto-Train Corp. Inc., 810 F.2d 276; Castle Arch Real Estate

Investments Co., LLC, 2013 Bankr. LEXIS 532, 2013 WL 492369.

       As noted above, the business and economics of all three entities revolves around the operation

of Front Range Gun Club. Gunsmoke, LLC, doing business as Front Range Gun Club, operates the

day-to-day sales and cashflows. The inventory is meanwhile vested in Armed Beavers, LLC, and
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Happy Beavers, LLC holds title to the Property in which Front Range Gun Club is operated. Happy

Beavers, LLC then leases the Property to Gunsmoke, LLC.

       The ownership, management, and control of the three entities are likewise connected.

Gunsmoke, LLC is wholly owned by Armed Beavers, LLC which is in wholly owned by Chee Wei

Fong and Richard Weingarten. Happy Beavers, LLC is also wholly owned by Chee Wei Fong and

Richard Weingarten. Chee Wei Fong and Richard Weingarten also run the day-to-day operations of

Front Range Gun Club and they manage and control all three debtor entities.

       More importantly, the assets and liabilities and of all three entities are so inextricably

intertwined that segregating them out and assigning them among various debtor entities would be

extremely difficult and expensive. First, while taxes were filed separately for Happy Beavers, LLC,

the taxes for Gunsmoke, LLC and Armed Beavers, LLC have been filed jointly under Gunsmoke,

LLC. Second, as listed below, the liabilities of the three entities have significant overlap:

       1. Happy Beavers, LLC entered into a Business Loan Agreement with Great Western Bank

           to finance the purchase of the Property. See Business Loan Agreement and Promissory

           Note attached hereto as Exhibit 1 and 2, respectively. This agreement gave Great

           Western Bank a First Deed of Trust on the Property and a security interest in the

           inventory. See Commercial Security Agreement attached hereto as Exhibit 3 Armed

           Beavers, LLC, Gunsmoke LLC, Chee Wei Fong, and Richard Weingarten are all

           guarantors to this agreement. See Commercial Guarantees attached hereto as Exhibit 5.

       2. Happy Beavers, LLC purchased the Property from Angry Beavers, LLC, an entity

           owned by Edward and Stephen Klen. This agreement gave Angry Beavers, LLC a

           second Deed of Trust on the Property. See Promissory Note for Real Property attached

           hereto as Exhibit 5. Armed Beavers, LLC, Gunsmoke LLC, Chee Wei Fong, and

           Richard Weingarten are all guarantors to this agreement.
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     3. Armed Beavers purchased all membership interest and tangible personal property in

        Gunsmoke, LLC from Edward and Stephen Klen. Armed Beavers, LLC and Gunsmoke,

        LLC, are listed as borrowers. See Promissory Note for Membership Interest attached

        hereto as Exhibit 6. Happy Beavers, LLC, Chee Wei Fong, and Richard Weingarten are

        all guarantors to this agreement. Id.

     4. Armed Beavers purchased all inventory of Gunsmoke, LLC from Edward and Stephen

        Klen. Armed Beavers, LLC and Gunsmoke, LLC, are listed as borrowers. Happy

        Beavers, LLC, Chee Wei Fong, and Richard Weingarten are all guarantors to this

        agreement. See Promissory Note for Inventory attached hereto as Exhibit 7. While

        Armed Beavers purchased the inventory, Happy Beavers, LLC purported to encumber

        that inventory under the Business Loan Agreement with Great Western Bank, to which

        Armed Beavers, LLC is also one of the guarantors. See Ex. 3.

     5. Armed Beavers, LLC and Edward and Steve Klen also entered into a covenant not to

        compete. Armed Beavers, LLC and Gunsmoke, LLC, are listed as promissory obligors

        to this agreement. See Agreement for Covenant not to Compete attached hereto as

        Exhibit 8. Happy Beavers, LLC, Chee Wei Fong, and Richard Weingarten are all

        guarantors to this agreement. Id.

     6. Subsequently, for each of the four promissory notes the debtor entities executed with

        Edward and Steve Klen and/or Angry Beavers, LLC, a subordination agreement was

        also entered into subordinating Edward Klen’s, Steve Klen’s, and Angry Beavers, LLC’s

        debts to that of Great Western Bank’s. Steve Klen, Edward Klen, Angry Beavers, LLC,

        Great Western Bank, Armed Beavers, LLC, Gunsmoke, LLC, Happy Beavers, LLC,

        Chee Wei Fong, and Richard Weingarten are all parties and signatories to these
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             subordination agreements. See Subordination Agreements attached hereto as Exhibit 9,

             10, 11 and 12.

        7. Additionally, Happy Beavers, LLC and Gunsmoke, LLC and an executed lease

             agreement whereby rent is owing from Gunsmoke, LLC to Happy Beavers, LLC. See

             Commercial Lease attached hereto as Exhibit 13.

        Because substantially all the debts owed to Great Western Bank or Angry Beavers and

Edward and Steve Klen as owed collectively by the debtor entities (either personally, as guarantors,

or functionally) and because the all the debts owed to Angry Beavers and Edward and Steve Klen

are subordinate to the debts owed to Great Western Bank, there is no prejudice to any of the creditors

in a consolidation of the debtor entities. Castle Arch Real, LEXIS 532, 2013 WL 492369; In re

Worldcom, LEXIS 1401, 2003 WL 23861928, at *35; In re Murray Industries, Inc., 119 B.R. at 829;

In re Stewart, 571 B.R. at., 471. Conversely, the creditors will benefit from a single pool of assets

and will avoid the great difficulty and expense in attempting to segregate and ascertain each debtor

entities’ respective assets and liabilities.

        Under these facts, regardless of whether the standard articulated in In re Owens Corning, In

re Auto-Train Corp or Castle Arch is applied, a substantive consolidation of the debtor entities is

equitable.

                                               CONCLUSION

        WHEREFORE, the debtors pray that the Gunsmoke, LLC’s, Armed Beavers, LLC’s and

Happy Beavers, LLC’s Chapter 11 cases be Substantively Consolidated under the Happy Beavers,

LLC Chapter 11 case pursuant to Bankruptcy Rule 1015 and Local Bankruptcy Rule 1015-1, and

for such further and additional relief as to the Court may appear proper.



 Dated: August 16, 2020                               Respectfully submitted,
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                                           By: /s/ Gerald L. Jorgensen
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 16, 2020, I electronically filed the foregoing with the Clerk
 of the Court using the CM/ECF system and/or via e-mail to the following address:

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